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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                         )
                                                 )
                         Plaintiffs,             )
           v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                                 )
  GOOGLE LLC,                                    )
                                                 )
                         Defendant.              )

  JOINT MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTIONS TO SEAL
     EXHIBITS FOR BRIEFING ON SUMMARY JUDGMENT AND MOTIONS TO
                      EXCLUDE EXPERT TESTIMONY

           1.    On April 26, 2024, Plaintiffs filed motions to exclude testimony of two of

  Google’s expert witnesses. ECF Nos. 587, 609. On that same date, Google filed a motion for

  summary judgment and motions to exclude testimony of three of Plaintiffs’ expert witnesses. ECF

  Nos. 569, 572, 575, 578.

           2.    All of these filings were accompanied by requests to maintain material under seal.

  With respect to a significant amount of the material submitted under seal, the parties’ basis for

  sealing is that another party (or non-party) has designated the material as “confidential” or “highly

  confidential” under the operative protective order in this action, see E.D. Va. L.R. 5(C) (setting

  forth procedures for filing materials where a non-filing party or non-party has designated the

  material as confidential). ECF Nos. 592-93, 605-06, 612, 617.

           3.    Pursuant to Local Rule 5, the parties’ (and any interested non-parties’) responses to

  these motions to seal are due on May 3, 2024. In those responses, Plaintiffs, Google, and any

  interested non-parties will be required to set forth a basis for continued sealing of material that

  they originally designated as confidential or highly confidential under the Modified Protective

  Order.
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         4.      The parties respectfully request an extension until June 7, 2024, of the response

  deadline for all responses to motions to seal associated with Google’s motion for summary

  judgment and the parties’ total of five motions to exclude expert witness testimony, as well as the

  associated opposition briefs and replies.

         5.      The additional time to respond to these motions to seal will provide two key

  benefits: (1) The parties and interested non-parties will have sufficient time to ensure that their

  requests for continued sealing are as narrowly tailored as possible, facilitating the maximum

  amount of information ultimately being available on the public docket; and (2) a single response

  deadline of June 7, 2024, will allow the parties to file consolidated responses to multiple motions

  to seal, contributing to fewer total filings and a more streamlined docket.

         6.      The parties submit that good cause exists to grant this extension, as the parties

  have proceeded diligently in this matter, no party will be prejudiced by the requested relief, and

  the requested relief will not affect any other deadlines in this case. See generally Roe v. Howard,

  No. 1:16-cv-562, 2017 U.S. Dist. LEXIS 187258, *1-2 (E.D. Va. June 30, 2017).

         7.      The parties have met and conferred regarding the relief requested herein, and both

  Plaintiffs and Google join in this motion.




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  Dated: April 30, 2024

  Respectfully submitted,

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